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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X                6/30/2021
                                                               :
IN THE MATTER OF THE COMPLAINT OF                              :
                                                               :    19-CV-5731 (GHW) (RWL)
HAPAG-LLOYD AKTIENGESELLSCHAFT                                 :
a/k/a HAPAG-LLOYD AG                                           : REPORT AND RECOMMENDATION
                                                               : TO HON. GREGORY H. WOODS:
AS OWNERS AND OPERATORS OF THE                                 :      MOTION TO DISMISS
M/V YANTIAN EXPRESS.                                           :
                                                               :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

      This case arose out of a fire on a containership, the M/V YANTIAN EXPRESS

(the “Vessel”), during its transatlantic journey from Sri Lanka to New York and other

ports. Despite firefighting and salvaging efforts, both the Vessel and many containers

on board suffered damage or loss. Following the incident, the owner and operator of

the Vessel, Hapag-Lloyd AG (“Hapag”), commenced this action seeking exoneration

from or limitation of liability pursuant to 46 U.S.C. §§ 30511 et seq. Thereafter, cargo

claimants and non-vessel-operating common carriers (“NVOCCs”) brought claims for

damages, indemnity, and/or contribution against not only Hapag but also Third-Party

Defendant Ocean Network Express Pte. Ltd. (“ONE”).

      Before the Court is ONE’s bellwether motion to dismiss four test claims based on

the forum selection clause in its bill of lading terms. These test claims were agreed

upon by ONE, certain cargo claimants represented by Hill Rivkins LLP (“Cargo

Claimants”), and certain NVOCCs led by Apex Marine Co., Inc. (“Apex”) and

represented by the Kennedy Lillis Schmidt & English firm (“NVOCC Claimants,” and




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together with Cargo Claimants, the “Claimants”). For the reasons that follow, ONE’s

bellwether motion should be DENIED in its entirety.

                                 Factual Background

      On January 3, 2019, a fire broke out aboard the Vessel about 1,900 kilometers

southeast of Nova Scotia.    The Vessel was in transit from Colombo, Sri Lanka, to

Halifax, Nova Scotia, and certain ports along the U.S. East Coast including New York.

The crew tried to fight the fire but abandoned the Vessel on January 7, 2019.

Professional salvors retained by Hapag eventually brought the fire under control.

Hundreds of cargo-laden containers, however, were affected by or lost in the fire.

Accordingly, on January 25, 2019, Hapag declared “general average” and appointed

adjusters to collect security from cargo interests. 1 The Vessel proceeded to Freeport,

Bahamas as a port of refuge and berthed there on February 4, 2019. Discharge of

damaged cargo and containers was completed on May 1, 2019, with delivery

conditioned on posting of general average security.      (Lim. Compl. ¶¶ 8-17; Compl.

¶¶ 115-123. 2)




1
  “‘General average is an ancient maritime doctrine making all participants in a maritime
venture ratably responsible for losses incurred for their common good.’” Vogt Power
International, Inc. v. M/V Beluga Constellation, No. 10-CV-2887, 2011 WL 4005297, at
*2 (S.D.N.Y. Sept. 1, 2011) (quoting Atlantic Richfield Co. v. United States, 640 F.2d
759, 761 (5th Cir. 1981)).
2
 “Lim. Compl.” refers to Hapag’s Complaint (Dkt. 1). “Compl.” refers to Cargo
Claimants’ Second Amended Third-Party Complaint (Dkt. 169).



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       ONE and another transport company, Yang Ming Marine Transport Corp. (“Yang

Ming”), had entered into a Vessel Sharing Agreement (the “VSA”) with Hapag. 3 (Lim.

Compl. ¶ 22.)    At all relevant times, Hapag owned and operated the Vessel (Lim.

Compl. ¶ 5); and ONE and Yang Ming were slot charterers, meaning that, pursuant to

the VSA, they each reserved container slot space on the Vessel for carriage of cargo

pursuant to their respective bills of lading. 4    (Lim. Compl. ¶ 22.)     ONE also was a

vessel-owning common carrier (“VOCC”). 5 (Wyatt Decl. ¶ 3. 6) As a VOCC, ONE had




3
 A vessel sharing agreement “allows competing carriers to ship cargo on each other's
vessels in order to make more effective use of their separate services and allow a
greater frequency of sailings of the parties’ various vessels.” In Re Rationis
Enterprises, Inc. Of Panama, No. 97-CV-9052, 1999 WL 6364, at *1 (S.D.N.Y. Jan. 7,
1999).
4
 “A bill of lading is, in the first instance and most simply, an acknowledgment by a
carrier that it has received goods for shipment. Secondly, the bill is a contract of
carriage. Thirdly, if the bill is negotiated ... it controls possession of the goods and is
one of the indispensable documents in financing the movement of commodities and
merchandise throughout the world.” Asoma Corp. v. SK Shipping Co., 467 F.3d 817,
823 n.2 (2d Cir. 2006) (quoting Grant Gilmore & Charles L. Black, Jr., The Law Of
Admiralty 93 (2d ed. 1975)).
5
  A VOCC or ocean common carrier “[h]olds itself out to the general public to provide
transportation by water of passengers or cargo between the United States and a foreign
country for compensation”; “[a]ssumes responsibility for the transportation from the port
or point of receipt to the port or point of destination”; and “[u]ses, for all or part of that
transportation, a vessel operating between a port in the United States and a port in a
foreign country.” Vessel-Operating Common Carriers, Fed. Maritime Comm’n, https://
www.fmc.gov/resources-services/vessel-operating-common-carriers (last visited June
16, 2021); see also 46 U.S.C. § 40102(7) (“Common Carrier”).
6
 “Wyatt Decl.” refers to the “Declaration Of Douglas Wyatt,” dated Sept. 18, 2020 (Dkt.
571).

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not only issued bills of lading to its customers, but also entered into service contracts

with a great majority of them. 7 (Wyatt Decl. ¶ 10.)

       Following the incident, various cargo interests, including Cargo Claimants,

brought claims against Hapag, ONE, and Yang Ming for damage, loss, or delay arising

from the fire and salvage efforts; and for reimbursement for any amounts the cargo

interests might be called upon to pay for general average or salvage.            NVOCCs,

including NVOCC Claimants, followed suit. 8 (See Lim. Compl. 23-24; see, e.g., Dkts.

87, 102, 169, 435.)

       As of September 17, 2020, ten writs of summons against ONE had also been

filed in the Singapore High Court – five by cargo claimants and five by NVOCCs. (Wai




7
  A service contract is “a written contract, other than a bill of lading or receipt, between
one or more shippers, on the one hand, and an individual ocean common carrier or an
agreement between or among ocean common carriers, on the other, in which … the
shipper or shippers commit to providing a certain volume or portion of cargo over a fixed
time period; and … the ocean common carrier or the agreement commits to a certain
rate or rate schedule and a defined service level, such as assured space, transit time,
port rotation, or similar service features.” 46 U.S.C. § 40102(21).
8
  Cargo Claimants were “shippers, consignees, owners, cargo insurers or their
authorized representatives.” (Compl. 132.) A shipper is “(A) a cargo owner; (B) the
person for whose account the ocean transportation of cargo is provided; (C) the person
to whom delivery is to be made; (D) a shippers’ association; or (E) a non-vessel-
operating common carrier that accepts responsibility for payment of all charges
applicable under the tariff or service contract.” 46 U.S.C. § 40102(23).

An NVOCC is a common carrier that “does not operate the vessels by which the ocean
transportation is provided; and … is a shipper in its relationship with an ocean common
carrier.” 46 U.S.C. § 40102(17); see also Royal & Sun Alliance Insurance, PLC v.
Ocean World Lines, Inc., 612 F.3d 138, 140 n.2 (2d Cir. 2010) (“An NVOCC will issue a
bill of lading to the shipper but does not undertake the actual transportation of the cargo.
Instead the NVOCC delivers the shipment to an ocean carrier for transportation”).

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Decl. ¶ 8. 9) Two of those Singapore actions were filed by Cargo Claimants represented

here by the Hill Rivkins firm; of the 661 ONE bills of lading listed in those two Singapore

actions, at least 617 are also listed in Cargo Claimants’ operative complaint in this

action. (Donatelli Decl. ¶ 9. 10) NVOCCs, represented here by the Kennedy Lillis firm,

likewise have claimed against ONE in the Singapore High Court. (Donatelli Decl. ¶ 10.)

       The instant motion concerns claims against ONE for cargo moving under ONE

bills of lading, and under ONE service contracts, where applicable. Specifically at issue

is the enforceability of the forum selection clause (the “Clause”) in ONE’s bill of lading

terms, which is incorporated by reference into ONE’s bills of lading as well as ONE’s

service contracts. (See Wyatt Decl. Exs. C, E, G, K (bills of lading) and Exs. F, H, L

(service contracts). 11) ONE’s bill of lading terms expressly require actions against ONE

to be filed in Singapore:

              Unless otherwise agreed by the Carrier [i.e., ONE], any
              action against the Carrier hereunder must be brought
              exclusively before the Singapore High Court.

(Wyatt Decl. Ex. A § 25.1.)

       The ONE service contract, however, has an entirely different provision governing

disputes that requires arbitration in New York:


9
 “Wai Decl.” refers to ONE’s “Declaration Of Bernard Yee Weng Wai,” dated Sept. 17,
2020 (Dkt. 572).
10
  “Donatelli Decl.” refers to the “Declaration Of Randolph Donatelli,” dated Sept. 19,
2020 (Dkt. 573). At oral argument, Cargo Claimants explained that they filed actions in
Singapore prophylactically to preserve their rights.
11
   These three service contracts appear to be ONE’s standard form contracts. The
clauses in dispute in the instant motion are identically worded and numbered across all
three service contracts. Hereinafter, the Court simply refers to them as the “service
contract.”

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              In the event of a dispute under this Contract, the parties to
              the dispute shall attempt to resolve it amicably, by direct
              good faith negotiations between a senior executive of each
              such party. If there is no resolution within thirty (30) days, the
              dispute shall be resolved by arbitration in New York under
              the Rules of the Society of Maritime Arbitrators, Inc. (“SMA”).

(E.g., Wyatt Decl. Ex. F. § 19(b).)       The same paragraph then sets forth specific

parameters governing any such contemplated arbitration:

              The arbitration shall be before a single arbitrator chosen by
              the parties to the dispute or, failing such agreement, each
              party shall appoint an arbitrator, and the two arbitrators so
              chosen shall select a third arbitrator as Chairperson. There
              shall be no restriction on the nationality of the arbitrators,
              and they may include practicing maritime attorneys. Except
              by agreement of the parties, there shall be no pre-hearing
              discovery. The costs and expenses of the arbitration
              (including reasonable attorneys’ fees and costs) shall be
              borne by the non-prevailing party. The decision of the
              arbitrator(s) shall be final, binding, not subject to further
              review, and enforceable by any court, tribunal or other forum
              having jurisdiction. The parties consent to the personal
              jurisdiction of, and venue in, any State Court in New York,
              New York, and the United States District Court for the
              Southern District of New York (collectively, a “New York
              Court”). The parties agree any such award may be enforced
              pursuant to the United Nations Convention on the
              Recognition and Enforcement of Foreign Arbitral Awards of
              June 10, 1958. If a party that has prevailed in arbitration
              finds it necessary to enforce the arbitrators’ decision and
              award, such party shall receive from the non-prevailing party
              the costs and expenses of such enforcement, including
              reasonable attorneys’ fees and costs.

(Wyatt Decl. Ex. F. § 19(b).)

                                    Procedural History

       On June 19, 2019, Hapag filed a complaint seeking exoneration from or limitation

of liability pursuant to the Limitation Of Liability Act of 1851, 46 U.S.C. §§ 30501 et seq.

(the “Limitation Act”), and Rule F of the Supplemental Rules For Admiralty Or Maritime



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Claims And Asset Forfeiture Actions, Federal Rules Of Civil Procedure (“Rule F”). (Dkt.

1.) On June 28, 2019, the Honorable Gregory H. Woods, U.S.D.J., issued an Order

Restraining Suits, Approving Plaintiff’s Security And Directing Issuance Of Notice And

The Filing Of Claims (the “Restraining Order”). (Dkt. 12.) Among other things, the

Restraining Order restrains and stays any claims against the Vessel in other

jurisdictions until resolution of the instant action. (Restraining Order ¶ 5.) Since then,

an array of third-party claims, crossclaims, and counterclaims have been filed in this

action.

          Most relevant to the instant motion, Cargo Claimants filed their initial Third-Party

Complaint against ONE and others on December 24, 2019 (Dkt. 160); their Amended

Third-Party Complaint on January 3, 2020 (Dkt. 168); and the operative Second

Amended Third-Party Complaint on January 7, 2020 (Dkt. 169). 12 On March 5, 2020,

Zurich American Insurance Company filed a Third-Party Complaint against Apex and

others (Dkt. 239); Apex answered and crossclaimed against ONE on July 6, 2020 (Dkt.

435). 13

          On June 1, 2020, ONE requested a pre-motion conference with the Court to

discuss its anticipated motion to dismiss claims governed by the forum selection clause


12
  Cargo Claimants refiled their Third-Party Complaint on December 31, 2019, due to a
deficiency identified by the Southern District of New York’s Electronic Case Filing
system. (Dkt. 167.) Cargo Claimants’ Amended and Second Amended Third-Party
Complaints also suffered from deficiencies, but were not refiled. Instead, Cargo
Claimants filed an “Amended Third-Party Complaint” on March 4, 2020. (Dkt. 233.)
ONE, however, denies having been served with this latest complaint (see, e.g., Dkt. 574
at 4 n.5), and Cargo Claimants do not argue otherwise. The Court therefore treats
Cargo Claimants’ Second Amended Third-Party Complaint as their operative pleading.
13
  Zurich sued Apex as “Apex Shipping Co.” (Dkt. 239 ¶ 10.) Apex admits to having
conducted business under that trade name at all relevant times. (Dkt. 435 ¶ 10.)

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in its bill of lading terms, which mandates resolution of disputes in Singapore. (Dkt.

326.)    The following day, this case was referred to this Court for all dispositive

motions. 14 (Dkt. 335.) This Court held the requested conference and then ordered the

relevant parties (i.e., ONE and all parties who had claimed against ONE as to cargo in

containers moving under ONE bills of lading) to meet and confer to discuss a potential

bellwether approach to manage ONE’s anticipated motion to dismiss, and to report on

the results of their discussions. (Dkt. 385.)

        On August 20, 2020, the parties filed a letter setting forth (1) the briefing

schedule and procedure for ONE’s bellwether motion, (2) four test claims (three from

Cargo Claimants, one from NVOCC Claimants), and (3) the parties’ “basic

understanding … [that a] decision by the Court on the test claims would not be binding

as to any other claims, but … that the purpose of a test claim approach is to obtain a

decision from the Court that will provide guidance as to the many other claims.” (Dkt.

532.) The Court endorsed the parties’ proposal the following day (Dkt. 533), and ONE

filed its bellwether motion on September 21, 2020 (Dkt. 570). The parties completed

briefing on December 7, 2020, and the Court held oral argument on June 23, 2021.

                                  The Four Test Claims

        ONE’s bellwether motion seeks dismissal of four test claims “representative of a

very high percentage of all claims for cargo under ONE bills of lading.” (ONE Mem. at




14
  The case previously had been referred to the undersigned for general pretrial
purposes on October 15, 2019. (Dkt. 127.)



                                                8
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5. 15) The Cargo Claimants for the first, second, and third test claims seek recovery for

damaged cargo and contributions to general average and/or salvage.                Apex, the

NVOCC Claimant for the fourth test claim, seeks indemnity or contribution.

       The first test claim involves a ONE bill of lading for carriage of a container of

frozen fish from Vietnam to New York. (Wyatt Decl. ¶ 14 & Ex. C.) The terms and

conditions to the bill of lading are available at ONE’s website and are incorporated by

reference. (See Wyatt Decl. Ex. A, C.) The first test claim shipment did not include a

service contract. The first test claim is the most basic of the four, consisting of only a

bill of lading between ONE and a shipper.

       The second test claim involves a ONE bill of lading for carriage of a container of

TVs from Thailand to Georgia. (Wyatt Decl. ¶ 17 & Ex. E.) This shipment did include a

service contract. (Wyatt Decl. ¶ 18 & Ex. F.) The service contract incorporates by

reference ONE’s bill of lading tariff, ONEY-020, which contains the terms and conditions

to ONE’s bills of lading; in other words, the service contract incorporates by reference

the bill of lading’s terms. 16 (Wyatt Decl. Ex. F § 2; Ex. B.) Funai Electric Co. Ltd. is the

shipper on the bill of lading and also the counterparty to the service contract. The




15
  “ONE Mem.” refers to ONE’s memorandum of law in support of its motion to dismiss
(Dkt. 574).
16
  “Tariff means a publication containing the actual rates, charges, classifications, rules,
regulations and practices of a common carrier .... The term ‘practices’ refers to those
usages, customs or modes of operation which in any way affect, determine or change
the transportation rates, charges or services provided by a common carrier ....” 46
C.F.R. § 520.2.


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second test claim, brought by the shipper’s insurer, 17 thus entails both a bill of lading

and a service contract between ONE and a shipper.

       The third test claim involves a ONE bill of lading for carriage of containers of

electronic automobile parts from Thailand to New York. (Wyatt Decl. ¶ 20 & Ex. G.)

The consignee on the bill of lading is Expeditors International Of Washington, Inc.

(“Expeditors”), one of ONE’s NVOCC customers. 18 ONE’s bill of lading was issued to

Expeditors; as an NVOCC, Expeditors issued its own bill of lading to its customer

shipping the cargo.    This shipment included a service contract between ONE and

Expeditors. (Wyatt Decl. ¶ 21 & Ex. H.) The service contract also incorporates by

reference ONE’s bill of lading tariff containing the terms and conditions to ONE’s bills of

lading. (Wyatt Decl. Ex. H § 2; Ex. B.) The third test claim, brought by the shipper’s

insurer, thus involves both a bill of lading and a service contract between ONE and an

NVOCC.

       The fourth test claim involves a ONE bill of lading for carriage of containers of

organic coconut water from Thailand to New York. (Wyatt Decl. ¶ 24 & Ex. K.) The

consignee on the bill of lading is Apex, one of ONE’s NVOCC customers.                This

shipment included a service contract between ONE and Apex. (Wyatt Decl. ¶ 25 & Ex.

L.) The service contract incorporates by reference ONE’s bill of lading tariff containing

the terms and conditions to ONE’s bills of lading. (Wyatt Decl. Ex. L § 2; Ex. B.) The


17
  None of the parties suggest that any different analysis or outcome is warranted by the
fact that certain of the claims are brought by insurers of the shippers rather than the
shippers directly. The Court proceeds on the same premise. At times, the Court may
use the terms “shipper” and “shipper’s insurer” interchangeably.
18
   “Consignee means the recipient of cargo from a shipper; the person to whom a
transported commodity is to be delivered.” 46 C.F.R. § 520.2.

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fourth test claim thus involves both a bill of lading and a service contract between ONE

and an NVOCC but differs from the third test claim in that the NVOCC is the claimant.

                                   Legal Standards

      A party seeking to enforce a forum selection clause designating a foreign forum

should do so by filing a motion to dismiss for forum non conveniens. Atlantic Marine

Construction Co. v. United States District Court For Western District of Texas, 571 U.S.

49, 60, 134 S. Ct. 568, 580 (2013). “A decision to grant or deny a motion to dismiss a

cause of action under the doctrine of forum non conveniens lies wholly within the broad

discretion of the district court.” Scottish Air International, Inc. v. British Caledonian

Group, PLC, 81 F.3d 1224, 1232 (2d Cir. 1996). Ordinarily, that discretion is guided by

a three-step analysis outlined by the Second Circuit: First, “a court determines the

degree of deference properly accorded the plaintiff’s choice of forum”; second, “it

considers whether the alternative forum proposed by the defendants is adequate to

adjudicate the parties’ dispute”; and third, “a court balances the private and public

interests implicated in the choice of forum.” Norex Petroleum Ltd. v. Access Industries,

Inc., 416 F.3d 146, 153 (2d Cir. 2005) (citing Iragorri v. United Technologies Corp., 274

F.3d 65, 73-74 (2d Cir. 2001)).

      The analysis changes, however, when a forum selection clause is at issue. In

that context, a court need only determine (1) whether the forum selection clause is valid

and (2) whether public interest factors nevertheless counsel against enforcement.

Atlantic Marine, 571 U.S. at 63-64, 134 S. Ct. at 581-82; Midamines SPRL Ltd. v. KBC

Bank NV, No. 12-CV-8089, 2014 WL 1116875, at *3 (S.D.N.Y. March 18, 2014). That is

because under the doctrine of forum non conveniens, a valid forum selection clause is



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given “controlling weight in all but the most exceptional cases.” Atlantic Marine, 571

U.S. at 63, 134 S. Ct. at 581 (internal quotation marks omitted).        In the admiralty

context, forum selection clauses “are prima facie valid and should be enforced” unless

the resisting party meets the “heavy burden” of showing that enforcement would be

“‘unreasonable’ under the circumstances.” M/S Bremen v. Zapata Off-Shore Co., 407

U.S. 1, 10, 17, 92 S. Ct. 1907, 1913, 1917 (1972); see American International Group

Europe S.A. (Italy) v. Franco Vago International, Inc., 756 F. Supp.2d 369, 376

(S.D.N.Y. 2010) (internal quotation marks omitted).

      When faced with a motion to dismiss for forum non conveniens that is to be

decided without a factual hearing, a court “must accept as true the facts alleged in the

complaint, but may also consider certain evidence outside the pleadings, including

affidavits.” Little v. XL Insurance Company SE, No. 18-CV-11919, 2019 WL 6119118,

at *2 (S.D.N.Y. Nov. 18, 2019) (citing Aguas Lenders Recovery Group LLC v. Suez,

S.A., 585 F.3d 696, 697 n.1 (2d Cir. 2009)); see also Alcoa Steamship Co., Inc. v. M/V

Nordic Regent, 654 F.2d 147, 149 (2d Cir. 1980) (“The district court took the motion to

dismiss on submission, based on the pleadings, affidavits and briefs of the parties – a

practice long recognized as acceptable and followed from time immemorial in the busy

Southern District of New York in determining forum non conveniens motions”). Federal

law governs the enforceability of a forum selection clause. Carnival Cruise Lines, Inc. v.

Shute, 499 U.S. 585, 590, 111 S. Ct. 1522, 1527 (1991).

                                      Discussion

      The Court begins its discussion by focusing on the first test claim, which pertains

to a bill of lading between ONE and a shipper. The Court then examines the second



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and fourth test claims, which involve both a bill of lading and a service contract between

ONE and a shipper (for the second test claim) and an NVOCC (for the fourth test claim).

To conclude, the Court analyzes the third test claim, which features both a bill of lading

and a service contract between ONE and an NVOCC where the shipper’s insurer is the

claimant. In all instances, however, the result is the same: the forum selection clause

that ONE seeks to invoke is unenforceable under the circumstances of this case.

A.       First Test Claim: Bill Of Lading Between ONE And Shipper

         The Court finds that the bill of lading’s forum selection clause is unenforceable in

this action because it is rendered null and void by the Carriage Of Goods By Sea Act,

46 U.S.C. § 30701 (Statutory Notes and Related Subsidiaries) (“COGSA”) and the

public interest weighs against its enforcement with respect to the first test case.

         Courts in this Circuit apply a four-part analysis to determine the validity of a

forum selection clause. Phillips v. Audio Active, Ltd., 494 F.3d 378, 383-84 (2d Cir.

2007).      First, a court must determine (1) whether the clause was “reasonably

communicated” to the party resisting enforcement, (2) whether the clause is mandatory

or permissive, and (3) whether the claims and parties involved in the suit are subject to

the clause. Id. at 383. If the court finds that the clause was reasonably communicated,

mandatory, and applicable, then the clause is presumptively enforceable unless the

party resisting enforcement can show (4) that “enforcement would be unreasonable or

unjust, or that the clause was invalid for such reasons as fraud or overreaching.” 19 Id.



19
   “In answering the interpretive questions posed by parts two and three of the four-part
framework, … [the Second Circuit Court of Appeals] normally appl[ies] the body of law
selected in an otherwise valid choice-of-law clause.” Martinez v. Bloomberg LP, 740
F.3d 211, 217-18 (2d Cir. 2014). Where, as here, the parties do not present any

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at 383-84 (internal quotation marks omitted).      The Clause satisfies the first three

requirements such that it is presumptively enforceable; the fourth element, however,

compels non-enforcement in the instant case.

         1.      The Clause Was Reasonably Communicated

         Cargo Claimants do not dispute that the Clause was reasonably communicated

to them. That is not surprising as ONE’s bill of lading states that “[t]he printed terms

and conditions on this Bill are available at its website at www.one-line.com” (Wyatt Decl.

Ex. C. at 1), ONE’s bill of lading terms are in fact published on its website, and the

terms are also published on the website of the Federal Maritime Commission in tariff

form (Wyatt Decl. ¶¶ 8-9 & Exs. A, B). The Court therefore finds that ONE’s bill of

lading terms, including the Clause, were reasonably communicated to Cargo Claimants.

See A.P. Moller-Maersk A/S v. Comercializadora De Calidad S.A., 429 F. App’x 25, 28

(2d Cir. 2011) (forum selection clause was reasonably communicated where standard

bill of lading, including forum selection clause, was available on bill of lading issuer’s

website); Ana Distribution, Inc. v. CMA-CGM (America) Inc., 329 F. Supp.2d 565, 567

(S.D.N.Y. 2004) (“the forum selection language in defendant’s publicly-noticed standard

terms and conditions applies automatically, even if … no such language appears on the

bill itself”).




evidence regarding how that body of law would interpret the provision at issue, a court
may “‘apply general contract law principles and federal precedent to discern the
meaning and scope of the forum clause.’” See Global Seafood Inc. v. Bantry Bay
Mussels Ltd., 659 F.3d 221, 224 n.3 (2d Cir. 2011) (quoting Phillips, 494 F.3d at 386);
accord Cfirstclass Corp. v. Silverjet PLC, 560 F. Supp.2d 324, 328 n.2 (S.D.N.Y. 2008).


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       2.     The Clause Is Mandatory

       “A forum selection clause is considered mandatory where: (1) ‘it confers

exclusive jurisdiction on the designated forum’ or (2) ‘incorporates obligatory venue

language.’” Global Seafood Inc. v. Bantry Bay Mussels Ltd., 659 F.3d 221, 225 (2d Cir.

2011) (quoting Phillips, 494 F.3d at 386). A forum selection clause is “permissive” if it

“only confers jurisdiction in the designated forum, but does not deny plaintiff his choice

of forum, if jurisdiction there is otherwise appropriate.” Phillips, 494 F.3d at 386.

       Here, the Clause states, “Unless otherwise agreed by [ONE], any action against

[ONE] hereunder must be brought exclusively before the Singapore High Court.” (Wyatt

Decl. Ex. A § 25.1.) The obligatory force of the phrase “must be brought” is self-evident.

See Bremen, 407 U.S. at 2, 20, 92 S. Ct. at 1909, 1918 (“Any dispute arising must be

treated before the London Court of Justice” was “mandatory and all-encompassing”);

Phillips, 494 F.3d at 386-87 (“any legal proceedings that may arise out of [the

agreement] are to be brought in England” was mandatory because “‘are to be brought’

establishes England as an obligatory venue” (alteration in original)). And “exclusively

before the Singapore High Court” is “specific language that actively channels the suit to

a particular court, … indicat[ing] an intent to make the [particular court] the only court[ ]

that can govern disputes.” Global Seafood, 659 F.3d at 226. Cargo Claimants do not

argue otherwise with respect to the first test claim. The Court easily finds that the

Clause is mandatory.

       3.     Cargo Claimants And Their Claims Are Subject To The Clause

       By its express language, the Clause applies to Cargo Claimants and their claims

against ONE; after all, the Clause governs “any action against [ONE] hereunder”; i.e.,



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under the bill of lading. (Wyatt Decl. Ex. A § 25.1.) Cargo Claimants do not dispute that

they are suing ONE under ONE’s bills of lading. To the contrary, Cargo Claimants

allege in their Complaint that ONE “is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo aboard the Vessel”; and

“received, accepted and agreed to transport [the shipments] for certain consideration to

the ports of destination stated in The Schedules and the referenced bills of lading.”

(Compl. ¶¶ 6, 125.) Furthermore, the subject bill of lading is specifically identified in a

schedule to the Complaint. 20 (Compl. Ex. A at Sch. 11.) Cargo Claimants and their

claims thus are subject to the Clause.         See Federal Insurance Co. v. M/V Ville

D’Aquarius, No, 08-CV-8997, 2009 WL 3398266, at *4 (S.D.N.Y. Oct. 20, 2009)

(general and specific references to bills of lading in complaint meant that plaintiff was

suing on bills, accepted bills’ terms, and subjected claims to forum selection clause

therein; claims arose “under or in connection with” bills).

       Cargo Claimants nevertheless assert two arguments as to why their claims are

not subject to the Clause. First, they argue that “General Average is a doctrine that

arises outside of the contract of carriage” and “[i]nsofar as claims for General Average

contributions are not claims made under the bills of lading, the forum-selection clause in




20
  As ONE explains, “Hill Rivkins have acknowledged that the ONE bill of lading
(ONEYRICVU0678500) identified in their claim schedule was for the return of th[e]
container …, and that ONEYSGNUC2079300 is the applicable bill of lading for [the first
test claim].” (ONE Mem. at 5 n.8 (citing Donatelli Decl. ¶ 3).)



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ONE’s bills of lading may not be globally invoked in this limitation proceeding.” (CC

Opp. at 8 n.6. 21)

       That argument contravenes the well-established principle that “forum selection

clauses are to be interpreted broadly and are not restricted to pure breaches of the

contracts containing the clauses.”       TradeComet.com LLC v. Google, Inc., 693 F.

Supp.2d 370, 378 (S.D.N.Y. 2010) (collecting cases).              “‘The Second Circuit has

endorsed an expansive reading of the scope of forum selection clauses, in keeping with

the public policy favoring their use.’” Universal Grading Service v. eBay, Inc., No, 08-

CV-3557, 2009 WL 2029796, at *14 (E.D.N.Y. June 10, 2009) (collecting cases); accord

Bluefire Wireless, Inc. v. Cloud9 Mobile Communications, Ltd., No. 09-CV-7268, 2009

WL 4907060, at *3 (S.D.N.Y. Dec. 21, 2009).

       Accordingly, “when ascertaining the applicability of a contractual provision to

particular claims, we examine the substance of those claims, shorn of their labels.”

Phillips, 494 F.3d at 388. “‘[A] forum selection clause should not be defeated by artful

pleading of claims not based on the contract containing the clause if those claims grow

out of the contractual relationship, or if the gist of those claims is a breach of that

relationship.’” Jones v. Ponant USA LLC, No. 19-CV-3041, 2020 WL 2489076, at *7

(S.D.N.Y. May 14, 2020) (quoting Cfirstclass Corp. v. Silverjet PLC, 560 F. Supp.2d

324, 330 (S.D.N.Y. 2008). Courts thus consider whether non-contract claims “ultimately

depend on the existence of a contractual relationship between the parties, or if

resolution of the claims relates to interpretation of the contract, or if the [ ] claims involve



 “CC Opp.” refers to Cargo Claimants’ memorandum of law in opposition to ONE’s
21

motion to dismiss (Dkt. 605).

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the same operative facts as a parallel claim for breach of contract.” Direct Mail Product

Services Ltd. v. MBNA Corp., No. 99-CV-10550, 2000 WL 1277597, at *6 (S.D.N.Y.

Sept. 7, 2000) (internal quotation marks, brackets, and citations omitted).

      Assuming for the sake of argument that claims for General Average contribution

are “non-contract claims,” as Cargo Claimants suggest, Cargo Claimants’ allegations in

their Complaint nonetheless demonstrate that all of their General Average claims

against ONE depend on their contractual relationship with ONE and are factually related

to their “Breach of Contract of Carriage” claim against ONE. (See Compl. ¶¶ 126-127,

139-140 (because ONE “breached, failed and violated [its] duties to [Cargo] Claimants,”

“cargoes insured by [Cargo] Claimants … are subject to salvage and general average

liens and payment related to the salvage and general average claims that have been

asserted,” and ONE is “not entitled to any contribution in General Average from any of

the [Cargo] Claimants”).) Consequently, Cargo Claimants’ claims relating to General

Average or salvage remain subject to the Clause.

      Cargo Claimants further argue that “[b]ecause Hapag commenced this limitation

action, and because the claims asserted against ONE are third-party claims, ONE’s

rights to object to Hapag’s chosen venue are limited, such that [Cargo] Claimants and

their claims are not necessarily subject to the clause.’” (CC Opp. at 8, 15-16.) Cargo

Claimants explain that “third-party defendants in this Circuit generally do not have

standing to object to venue.” (CC Opp. at 15.) But none of the cases that Cargo

Claimants cite are apposite as none involved a third-party defendant seeking to enforce

a forum selection clause. In Foremost Guarantee Corp. v. Public Equities Corp., No.

86-CV-6421, 1988 WL 125667, at *5 (S.D.N.Y. Nov. 10, 1988), third-party defendants



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moved for transfer pursuant to 28 U.S.C. § 1404(a). And in both ABCKO Music, Inc. v.

Beverly Glen Music, Inc., 554 F. Supp. 410, 412 (S.D.N.Y. 1983), and Zoological

Society Of Buffalo, Inc. v. CarvedRock, LLC, No. 10-CV-35, 2011 WL 6329929, at *10

(W.D.N.Y. Oct. 12, 2011), R. & R. adopted, 2011 WL 6329872 (W.D.N.Y. Dec. 19,

2011), third-party defendants moved to dismiss for improper venue.

       Here, in contrast, ONE does not contend that venue is improper. Rather, ONE

seeks to enforce the forum selection clause in its bill of lading terms. Emphasizing just

such a distinction, the Supreme Court has stated, “[w]hether venue is ‘wrong’ or

‘improper’ depends exclusively on whether the court in which the case was brought

satisfies the requirements of federal venue laws, and those provisions say nothing

about a forum-selection clause.” Atlantic Marine, 571 U.S. at 55, 134 S. Ct. at 577.

Courts in this District thus have not hesitated to enforce third-party defendants’ forum

selection clauses and dismiss third-party complaints on that basis. For instance, in Bax

Global, Inc. v. Ocean World Lines, Inc., No. 07-CV-10457, 2009 WL 3001816, at *2

(S.D.N.Y. Sept. 18, 2009), an NVOCC sued for indemnity against Ocean World Lines,

Inc. (“OWL”), another NVOCC.       OWL then asserted a third-party claim against the

defendant slot charterer, named COSCO, which handled the ocean portion of the

cargo’s carriage.   Third-party defendant COSCO then sought to enforce the forum

selection clause in its bill of lading with third-party plaintiff OWL. Although OWL did not

oppose COSCO’s motion, the court found that even if it had, the court would have found

the forum selection clause exclusive, reasonable, and enforceable.

       Similarly, in Glyphics Media, Inc. v. M.V. Conti Singapore, No. 02-CV-4398, 2003

WL 1484145, at *8 (S.D.N.Y. March 21, 2003), a shipper sued an NVOCC, again OWL.



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OWL then filed a third-party complaint against The Shipping Corporation of India, Ltd.

(“SCI”), a VOCC, with whom OWL subcontracted shipment. The plaintiff shipper had

sued OWL in New York pursuant to OWL’s bill of lading, which contained a forum

selection clause requiring litigation in New York. The bill of lading from SCI to OWL,

however, required that suits be filed in India. The Court found the forum selection

clause between SCI and OWL controlled the dispute as between them, and dismissed

OWL’s claim against SCI based on that clause.

       The Court finds that the Clause reasonably was communicated, is mandatory,

and covers Cargo Claimants and their claims.               The Clause is presumptively

enforceable.

       4.      The Clause Is Unenforceable As Contrary To COGSA And Adverse
               To The Purpose Of The Limitation Act

       Cargo Claimants may rebut the presumption of enforceability by showing that

enforcement of the forum selection clause would be unreasonable or unjust, or that the

clause is otherwise invalid for reasons such as fraud or overreaching. Phillips, 494 F.3d

at 383-84. In the Second Circuit, this fourth and final step of the validity analysis is

made up of “four subparts”: a court must determine whether “‘(1) [the forum selection

clause’s] incorporation was the result of fraud or overreaching; (2) the law to be applied

in the selected forum is fundamentally unfair; (3) enforcement contravenes a strong

public policy of the forum’ in which suit is brought; ‘or (4) trial in the selected forum will

be so difficult and inconvenient that the plaintiff effectively will be deprived of his day in

court.’”    Martinez v. Bloomberg LP, 740 F.3d 211, 227-28 (2d Cir. 2014) (quoting

Phillips, 494 F.3d at 392).




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       Here, Cargo Claimants do not argue that incorporation of the Clause was the

result of fraud or overreaching, or that trial in Singapore will be so difficult that Cargo

Claimants effectively will be deprived of their day in court. Rather, they contend that the

law to be applied in Singapore is fundamentally unfair, and enforcement of the Clause

contravenes this forum’s strong public policy. 22 Specifically, Cargo Claimants maintain

that the Singapore High Court would apply the Singapore law known as the 1976

Convention of Limitation of Liability for Maritime Claims (the “1976 Convention”) (i.e.,

Singaporean law) which would lessen ONE’s liability to Cargo Claimants below what

COGSA guarantees. Cargo Claimants also argue that the Limitation Act (1) requires all

claims arising from the fire to be asserted in this proceeding, and (2) allows only vessel

owners and bareboat charterers – not slot charterers such as ONE – to limit their

liability. The Court agrees that enforcing the Clause in this action would contravene

both COGSA and the purposes of the Limitation Act.           The Court explains by first

addressing COGSA and then the Limitation Act.

              a.     COGSA

       As the Second Circuit has explained,

              COGSA represents the codification of the United States’
              obligations under the International Convention for the
              Unification of Certain Rules of Law Relating to Bills of
              Lading, August 25, 1924, 51 Stat. 233. This convention,
              which is also known as the Hague Rules, was the
              culmination of a multinational effort “to establish uniform
              ocean bills of lading to govern the rights and liabilities of
              carriers and shippers inter se in international trade.”


22
  Cargo Claimants conflate two of the four factors by asserting that enforcement of the
Clause “essentially would deprive [them] of their day in court” – not because of difficulty
or inconvenience of trial in Singapore, but because of “a direct conflict between
Singapore law and COGSA.” (CC Opp. at 19-20.)

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J.C.B. Sales Ltd. v. Wallenius Lines, 124 F.3d 132, 134 (2d Cir. 1997) (quoting Robert

C. Herd & Co. v. Krawill Machinery Corp., 359 U.S. 297, 301, 79 S. Ct. 766, 768

(1959)). Among other things, COGSA prescribes a carrier’s limitation of liability in the

event of damage to or loss of cargo to “$500 per package … or … per customary freight

unit … unless the nature and value of such goods have been declared by the shipper

before shipment and inserted in the bill of lading.” 46 U.S.C. § 30701 note § 4(5). 23

          COGSA applies by its own force during the period of time from when goods are

loaded on a ship to when they are discharged from the ship. 46 U.S.C. § 30701 note

§ 1(e).     ONE’s bill of lading terms expressly incorporate COGSA, stating that “[f]or

shipments to or from the United States …, the contract evidenced by or contained in this

Bill shall be governed by U.S law,” and “this Bill shall be subject to US COGSA, the

terms of which are incorporated herein and US COGSA shall govern throughout the

entire Carriage set forth in this Bill.” (Wyatt Decl. Ex. B §§ 25.2, 26.1.) As Cargo

Claimants note, COGSA thus applies ex proprio vigore (by its own force) and ex

contractu (by contract) to their shipment. (CC Opp. at 24.)

          The parties agree, however, that if the Clause were enforced, the Singapore High

Court would also apply the 1976 Limitation Convention to which Singapore, but not the



23
  COGSA’s statutory codification merits a mention. “COGSA was previously codified at
46 U.S.C. §§ 1300-1315. In 2006, Congress recodified Title 46 of the U.S. Code, and
COGSA was uncodified but reprinted at 46 U.S.C. § 30701, historical and statutory
notes.” Caddell Construction Co. (DE), LLC v. Danmar Lines Ltd., No. 18-CV-2900,
2018 WL 6726549, at *2 n.1 (S.D.N.Y. Dec. 20, 2018) (citing Pub. L. No. 109-304, 120
Stat. 1485 (2006)); see also Rexroth v. Hydraudyne B.V. v. Ocean World Lines, Inc.,
547 F.3d 351, 354 n.2 (2d Cir. 2008) (noting recodification and lack of substantive
changes), abrogated on other grounds, Kawasaki Kisen Kaisha Ltd. v. Regal-Beloit
Corp., 561 U.S. 89, 130 S. Ct. 2433 (2010). The Court cites to the COGSA sections as
reflected in the statutory notes to 46 U.S.C. § 30701.

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United States, is a party. As explained by Bernard Yee Weng Wai, “an Advocate and

Solicitor of the Supreme Court of Singapore” (Wai Decl. ¶ 1), “[t]he Singapore court will

… apply U.S. COGSA as substantive law … [and] the 1976 Limitation Convention as

procedural law” (Suppl. Wai Decl. ¶¶ 3-4). 24 Further, the parties agree that if claims

against ONE are pursued in Singapore, the most that Cargo Claimants can collectively

recover is approximately $16.4 million as a result of the limitation provisions of the 1976

Limitation Convention. 25    Under COGSA, however, the extent of Cargo Claimants’

recovery is estimated to be considerably higher at $75 million. 26 In other words, as

Cargo Claimants observe, “ONE’s admitted goal is to limit its liability to less than twenty-

five percent of the amount that [Cargo] Claimants are entitled to recover under

COGSA.” (CC Opp. at 24.) Such a result renders the Clause void pursuant to COGSA

§3(8).

         Section 3 of COGSA is titled Responsibilities And Liabilities.        Among other

things, § 3 sets forth a carrier’s duties and liabilities with respect to shipping and care of


24
   “Suppl. Wai Decl.” refers to the “Supplemental Declaration Of Bernard Yee Weng
Wai,” dated December 4, 2020 (Dkt. 615). “It is permissible for a court to consult the
opinions of foreign attorneys familiar with the intricacies of maritime law in their
respective countries and, in reliance thereon, construct an informed picture of how
foreign courts may approach an issue.” Central National-Gottesman, Inc. v. M.V.
“GERTRUDE OLDENDORFF”, 204 F. Supp.2d 675, 681 (S.D.N.Y. 2002) (collecting
cases).
25
  According to Mr. Wai, under the 1976 Limitation Convention, ONE’s limit of liability
would be calculated based on the gross tonnage of the Vessel and then certified in
Singapore dollars by the Maritime Port Authority of Singapore. Mr. Wai’s $16.4 million
calculation is therefore based on the gross tonnage of the Vessel (a matter of public
record) and the exchange rate between the Singapore and U.S. dollars as of September
17, 2020. (See Wai Decl. ¶¶ 29-36.)

 At oral argument, Cargo Claimants revised their estimate of potential recovery under
26

COGSA to be in a range of $50-80 million.

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cargo, § 3(1), and issuing bills of lading, § 3(3). The last subsection, § 3(8), prohibits bill

of lading terms that eliminate or lessen a carrier’s liability and states in relevant part:

               Any clause, covenant, or agreement in a contract of carriage
               relieving the carrier or the ship from liability for loss or
               damage to or in connection with the goods, arising from
               negligence, fault, or failure in the duties and obligations
               provided in this section, or lessening such liability otherwise
               than as provided in this Act, shall be null and void and of no
               effect.

46 U.S.C. § 30701 note § 3(8). The express language of the statute thus renders void

any contract term that “reliev[es]” a carrier of liability or “lessen[s]” a carrier’s liability for

loss of or damage to cargo caused by the carrier’s failure to fulfill its duties and

obligations under § 3. Enforcement of the Clause would do exactly what COGSA § 3(8)

prohibits: lessen ONE’s liability for the loss and damage of the Claimants’ cargo. By

virtue of Singapore’s application of the 1976 Limitation Convention, enforcement of the

Clause would reduce the extent of ONE’s liability available to Claimants under COGSA

by tens of millions of dollars – from $75 million down to $16.4 million.

       The Supreme Court construed § 3(8) in Vimar Seguros y Reaseguros, S.A. v.

M/V Sky Reefer, 515 U.S. 528, 115 S. Ct. 2322 (1995), a case on which ONE relies but

reads too broadly. (ONE Mem. at 8, 10-11.) In Sky Reefer, a shipment of fruit was

damaged in transit from Morocco to Massachusetts.               The shipper’s insurer sued in

federal court in Massachusetts under a standard form bill of lading. The bill of lading

included a forum selection clause requiring arbitration in Tokyo as well as application of

Japanese law. The defendant moved to compel arbitration in Tokyo. In opposition, the

plaintiffs argued that if forced to arbitrate in Japan, they would incur additional costs

such as for travel and hotel accommodations. As a result, plaintiffs argued, they would



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recover a lesser net amount than if the action proceeded in the U.S., and the forum

selection clause must be deemed void under COGSA § 3(8).

       The Court rejected that argument as well as a consistent line of decisions from

Courts of Appeals that had categorically invalidated foreign forum selection clauses in

bills of lading under § 3(8). 27 Id. at 533-34, 115 S. Ct. at 2326. To determine whether

the burden of increased transaction costs of litigating abroad violated § 3(8)’s bar on bill

of lading terms that lessen liability, the Court focused on the purpose of COGSA and the

specific guarantees that may not be diminished by a bill of lading:

              The liability imposed on carriers under COGSA § 3 is
              defined by explicit standards of conduct, and it is designed to
              correct specific abuses by carriers. In the 19th century it
              was a prevalent practice for common carriers to insert
              clauses in bills of lading exempting themselves from liability
              for damage or loss, limiting the period in which plaintiffs had
              to present their notice of claim or bring suit, and capping any
              damages awards per package.                Thus, § 3, entitled
              “Responsibilities and liabilities of carrier and ship,” requires
              that the carrier “exercise due diligence to make the ship
              seaworthy” and “properly man, equip, and supply the ship”
              before and at the beginning of the voyage, “properly and
              carefully load, handle, stow, carry, keep, care for, and
              discharge the goods carried,” and issue a bill of lading with
              specified contents. Section 3(6) allows the cargo owner to
              provide notice of loss or damage within three days and to
              bring suit within one year. These are the substantive
              obligations and particular procedures that § 3(8) prohibits a
              carrier from altering to its advantage in a bill of lading.

Id. at 534-35, 115 S. Ct. at 2327 (internal brackets, ellipses, and citations omitted).

       Framing the issue of enforceability of bill of lading terms vis-à-vis COGSA, the

Court identified “[t]he relevant question” as “whether the substantive law to be applied



27
   The progenitor of the line of authority turned aside by the Supreme Court was a case
from the Second Circuit, Indussa Corp. v. Ranborg, 377 F.2d 200 (2d Cir. 1967).

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will reduce the carrier’s obligations to the cargo owner below what COGSA

guarantees.” 28 Id. at 539, 115 S. Ct. at 2329. More succinctly, would enforcement of

the terms “lessen[ ] liability in the sense that COGSA prohibits”? Id. at 530, 115 S. Ct.

at 2325. The Court held that an increase in transaction costs does not lessen liability in

the way that COGSA prohibits, distinguishing “the lessening of the specific liability

imposed by the Act” and “the separate question of the means and costs of enforcing

that liability.” Id. at 534, 115 S. Ct. at 2327. The Court’s conclusion makes eminent

sense given the purpose of COGSA and the language of § 3(8); transaction costs

associated with having to litigate abroad may reduce the claimants’ net recovery, but

they do not lessen the carrier’s liability. In other words, the carrier is required to pay the

same amount, regardless of the transaction costs incurred by plaintiffs.

       In reaching its conclusion, the Court also rejected the plaintiffs’ argument that

enforcement of the forum selection clause would violate § 3(8) because it was possible

that the Tokyo arbitrators would not apply COGSA or would not do so properly. Id. at

537-39, 115 S. Ct. at 2328-29. The Court found that argument “premature,” reasoning

that the case was at an interlocutory stage and that it had “not [been] established what

law the arbitrators will apply to petitioner’s claims or that petitioner will receive

diminished protection as a result.” Id. at 540, 115 S. Ct. at 2329. The Court recognized

that the district court had retained jurisdiction over the case and therefore would “have


28
   The Singapore High Court would apply the 1976 Convention as procedural law
(Suppl. Wai Decl. ¶ 4), whereas the Supreme Court in Sky Reefer couched its concerns
in the context of the substantive law applied. Regardless of whether the law to be
applied is deemed substantive or procedural, however, the issue is whether
enforcement of the Clause would result in “lessen[ing] [of] liability in the sense that
COGSA prohibits.” Sky Reefer, 515 U.S. at 530, 115 S. Ct. at 2325. As discussed
above, the Clause does exactly that.

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the opportunity at the award-enforcement stage to ensure that the legitimate interest in

the enforcement of the laws has been addressed.” Id. at 540, 115 S. Ct. at 2329-30

(internal quotation marks and ellipses omitted).

      As can be discerned from the foregoing discussion, Sky Reefer is materially

distinguishable from the instant case in at least three respects.         First, the issue

presently before the Court is not one of transaction costs but rather a lessening of the

carrier’s liability otherwise guaranteed by COGSA. Second, lessening of ONE’s liability

is not a mere possibility, but a virtual certainty as acknowledged by the parties. Third,

the Clause requires litigation, not arbitration. If Claimants are compelled to pursue their

claims in Singapore, they will not have the opportunity to obtain review by a U.S. court

at a later award-enforcement stage as did the plaintiffs in Sky Reefer. Cf. Central

National-Gottesman, Inc. v. M.V. “GERTRUDE OLDENDORFF”, 204 F. Supp.2d 675,

681-82 (S.D.N.Y. 2002) (finding forum selection clause unenforceable because foreign

forum would likely ascribe a narrow definition of “carrier” so as to deprive claimant of

claim against defendant in violation of COGSA, and because, unlike in Sky Reefer,

there would be no subsequent opportunity to review foreign court’s decision).

      ONE mischaracterizes Sky Reefer in saying that “the Supreme Court held that

foreign forum clauses in ocean bill of ladings [sic] do not contravene … COGSA.” (ONE

Mem. at 8.) The Court made no such categorical ruling. To the contrary it rejected the

converse proposition that forum selection clauses in bills of lading are categorically

unenforceable. 515 U.S. at 541, 115 S. Ct. at 2330 (“we hold that foreign arbitration

clauses in bills of lading are not invalid under COGSA in all circumstances” (emphasis

added)). Indeed, in providing examples of cases in which forum selection or choice of



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law clauses were deemed unenforceable, the Court favorably cited an English case

presenting the same scenario presented here.        Id., 115 S. Ct. at 2330 (citing The

Hollandia, [1983] A.C. 565, 574-75 (H.L. 1982)).        As described by the Court, the

Hollandia court held that although the “choice-of-forum clause ‘does not ex facie offend

against article III, paragraph 8,’” the clause was “unenforceable where ‘the foreign court

chosen as the exclusive forum would apply a domestic substantive law which would

result in limiting the carrier’s liability to the sum lower than that to which he would be

entitled if [English COGSA] applied.’” 29 Id., 115 S. Ct. at 2330 (alteration in original).

The same is true here.       The Clause does not on its face transgress § 3(8) but

nevertheless is unenforceable because Singapore, “as the exclusive forum,” would

apply the 1976 Limitation Convention, “which would result in limiting [ONE]’s liability to

[a] sum lower than” what it otherwise would be liable for under COGSA. Id., 115 S. Ct.

at 2330.

       This Court is not aware of any controlling or persuasive case where a court has,

over a claimant’s objection, enforced a forum selection clause in a bill of lading to which


29
   Similar to ONE’s over-broad characterization of Sky Reefer’s holding, the dissenting
opinion by Justice Stevens imposes a gloss on the majority decision that seems to this
Court undeserved. According to Justice Stevens, the upshot of the majority’s
interpretation of § 3(8) is that “contractual provisions that lessen the amount of the
consignee’s net recovery, or that lessen the likelihood that it will make any recovery at
all, are beyond the scope of [COGSA].” 515 U.S. at 549-50, 115 S. Ct. at 2334
(Stevens, J., dissenting). Justice Stevens expressed particular concern that a form bill
of lading is a “document prepared by the carrier, who presents it to the shipper on a
take-it-or-leave-it basis” and thus is ripe for abuse just as COGSA is meant to forestall.
Id., 115 S. Ct. at 2334. Perhaps so. In the end, however, the majority merely held that
transaction costs associated with having to arbitrate in a different forum do not lessen
carrier liability in the manner contemplated under § 3(8). That is a far cry from holding
that a forum selection clause should be enforced where there is no dispute that the
carrier’s liability will be substantially diminished and there will be no opportunity for a
U.S. court to later weigh in on the foreign forum’s decision.

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COGSA applied and as to which there was no dispute that enforcement would reduce

the carrier’s liability for damage or loss of cargo. 30 Cases in which courts have enforced

a forum selection clause when COGSA applied are readily distinguishable. See, e.g.,

Thyssenkrupp Materials NA, Inc. v. M/V Kacey, 236 F. Supp.3d 835, 840-41 (S.D.N.Y.

2017) (rejecting claimant’s arguments that enforcing clause requiring claims be brought

in Greece would lessen its remedies under COGSA, because other applicable law

preserved claimant’s rights); American International, 756 F.Supp.2d at 377 (no party

challenged validity of clause); Salis v. American Export Lines, 566 F. Supp.2d 216, 221

(S.D.N.Y. 2008) (claimant failed to offer any evidence to substantiate assertion that

enforcement of forum selection clause would lessen carrier's liability), aff’d in part,

vacated in part, 331 F. App’x 811 (2d Cir. 2009); Central National-Gottesman, 204 F.

Supp.2d at 682-83 (distinguishing several cases on varied grounds).

       The Court has found two cases, both from federal district courts in California,

where the courts distinguished between a reduction in monetary damages as distinct

from reduction of substantive obligations under COGSA. Pacific Asian Enterprises v.

Cross Chartering N.V., No. 10-CV-1335, 2011 WL 1522441 (S.D. Cal. April 19, 2011);

PAC Global Insurance Brokerage, Inc. v. Gramter International (U.S.A.) Co., No. 07-CV-



30
   A somewhat similar issue arises in cases where the foreign forum has a statute of
limitations that would curtail the claimant’s recovery. Courts consistently have held that
application of the foreign forum’s statute of limitations does not violate COGSA § 3(8).
American Home Assurance Co. v. M/V Jaami, No. 06-CV-287, 2007 WL 1040347, at *3
(S.D.N.Y. Apr. 4, 2007) (collecting cases). There is an important difference, however, in
the statute of limitations context. Compliance with a statute of limitations is within the
claimant’s control, whereas the monetary limitation at issue here is one that reduces the
carrier’s liability, regardless of what the claimant does. As the Jaami court noted,
“Section 3(8) of COGSA does not invalidate a foreign forum selection clause simply
because a plaintiff ignored the clause and failed to timely file in the correct forum.” Id.

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964, 2007 WL 5557304 (C.D. Cal. Sept. 21, 2007). As the PAC Global court put it, “a

potential reduction in monetary damages is not tantamount to a reduction of [the moving

parties’] substantive obligations.”   2007 WL 5557304 at *5.          Both cases are quite

distinguishable, however, in that, among other reasons, the courts found the claimants

assertions as to whether the carrier’s liability would be limited by foreign law was

“entirely speculative,” id. at *4, and “too conjectural.” Pacific Asian, 2011 WL 1522441

at *5. Here, in contrast, the uncontroverted evidence is that enforcement of the forum

selection clause will substantially lessen ONE’s liability. This Court also finds it difficult

to square the distinction made in those cases with the express language of § 3(8),

which bars provisions that either “reliev[e]” or “lessen” liability for damage or loss

caused by the carrier’s breach of its obligations. 31 See Nwozuzu v. Holder, 726 F.3d

323, 327 (2d Cir. 2013) (“If the statutory terms are unambiguous, we construe the

statute according to the plain meaning of its words”). Additionally, both cases were one-

off litigations with few parties; neither involved a concursus action pursuant to the

Limitation Act as discussed next.

              b.     The Limitation Act

       Cargo Claimants additionally argue that the Clause should not be enforced

because it “would frustrate one of the main purposes of the Limitation Act …, [which]

expresses a strong preference for resolving all issues related to a limitation action in a

single forum and proceeding.” (CC Opp. at 19 (internal quotation marks omitted).) That



31
  The distinction made in PAC Global and Pacific Asian would be more apt with respect
to the Harter Act, 46 U.S.C. § 30704, which “voids provisions absolving liability” but
“does not void provisions limiting a carrier’s liability.” Thyssenkrupp, 236 F. Supp.3d at
842 (emphasis in original).

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concern is valid, although not dispositive. See Hartford Accident & Indemnity Co. Of

Hartford v. Southern Pacific Co., 273 U.S. 207, 215-16, 47 S. Ct. 357, 359 (1927)

(describing the “broad and equitable” construction of the Limitation Act given by the

Supreme Court “for facilitating a settlement of the whole controversy over such losses

as are comprehended within it”).

       Cargo Claimants rely particularly on In Re Rationis Enterprises, Inc. Of Panama,

No. 97-CV-9052, 1999 WL 6364 (S.D.N.Y. Jan. 7, 1999). In Rationis, a containership

carrying more than 1,600 containers met with disaster on the high seas during its

voyage to the United States. The vessel’s owner commenced a limitation proceeding in

the Southern District of New York, and hundreds of claimants filed claims in excess of

$130 million. Twenty-nine related cases also were filed. Eventually, a slot charterer

that had entered into a vessel sharing agreement with the vessel owner appeared in the

limitation proceeding and filed a claim against the vessel owner. Confronted with cross-

claims from fellow claimants, the slot charterer sought to enforce the forum selection

clause in its own bills of lading. Rationis, 1999 WL 6364 at *1-2.

       The court declined to enforce the slot charterer’s forum selection clause, in part

because “[t]he unusual size and complexity” of the matter “render[ed] arguments of

judicial economy and equity particularly strong.” Id. at *3. As the court explained, “‘[t]he

purpose of a limitation proceeding is not merely to limit liability but to bring all claims into

concourse and settle every dispute in one action.’” Id. (quoting Quarrington Court, 102

F.2d 916, 918 (2d Cir. 1939)). “Unjustifiably giving effect to all of the various forum

clauses in a cargo situation of this complexity and global magnitude would fragment

th[e] case beyond recognition.” Id.



                                              31
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       Similarly, here, Hapag filed this action pursuant to the Limitation Act so that all

claims against it could be consolidated in one action. Consistent with that approach and

pursuant to the Limitation Act, the Court issued a restraining order prohibiting any

claims against Hapag in other jurisdictions. (Restraining Order ¶ 5.) See 46 U.S.C.

§ 30511; Fed. R. Civ. P. Supp. R. F(3) (“On application of the plaintiff the court shall

enjoin the further prosecution of any action or proceeding against the plaintiff or the

plaintiff’s property with respect to any claim subject to limitation in the action”). Of

course, enforcing the Clause for claims made against ONE would not violate that

restriction, which applies to claims against Hapag. Nonetheless, because ONE is a

third-party defendant with respect to hundreds of claims in this case, enforcement of the

Clause would splinter this action to a significant degree.     Claimants would have to

pursue separate claims against Hapag and ONE in different countries for claims arising

out of the same set of facts. And, as Claimants suggested at oral argument, if ONE’s

motion is granted, other third-party defendants with forum selection clauses for fora

promising a more favorable outcome would be incentivized to follow ONE’s lead,

resulting in further fragmentation.

       To be sure, litigation frequently is split into multiple proceedings, and claims

against maritime carriers are no exception. Courts in this District thus have “held on

more than one occasion [in admiralty cases] that the possibility of multiple parallel

proceedings is not sufficient to rebut the presumption of enforceability of an otherwise

valid forum selection clause entered into by the parties.” Glyphics Media, 2003 WL

1484145 at *5 (citing La Fondiaria Assicurazione, S.P.A. v. Ocean World Lines, Inc.,

No. 02-CV-40, 2002 WL 31812679, at *1-2 (S.D.N.Y. Dec. 12, 2002) (rejecting



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NVOCC’s argument that a foreign forum selection clause should not be enforced

against it because of judicial economy concerns and noting that while “[a]dmittedly, it

might be more efficient to dispose of the entire case in one court ... that is not the

standard for overcoming a forum selection clause”)); Street, Sound Around Electronics

v. M/V Royal Container, 30 F. Supp.2d 661, 663 (S.D.N.Y. 1999) (“The possibility of

multiple parallel proceedings was a contingency entirely foreseeable to plaintiff when it

agreed to the forum selection clause. Refusing to enforce a forum selection clause on

th[e] basis [of judicial economy] would undermine whatever measure of certainty such

clauses bring to the international shipping transactions in which they are commonly

employed”) (internal citation omitted)). But those actions are ones with a discrete group

of parties, not large-scale limitation actions such as this one.       And while it is not

uncommon for some satellite litigation in other fora to supplement the primary limitation

action, 32 ONE has not presented the Court with any case where a court has enforced a

forum selection clause asserted by a third-party defendant in a limitation action such as

this one.

       While the fragmentation issue raised in Rationis is clearly apt, ONE rightly points

out its limited reach.   First, Rationis has a material distinguishing fact.      The slot-



32
   A leading admiralty treatise contemplates the possible pursuit of related but not direct
claims outside of a limitation proceeding at the option of the claimant: “[A]ny third party
who may not be named, but may be liable to the claimant/defendant should be joined as
a third party defendant by third party complaint as is normal under Rule 14. In this
context, the third party joinder rule is used to add a third party defendant who is directly
liable to the [claimant/]defendant for damages as if the [claimant/]defendant were the
plaintiff suing directly for damages. … Of course, the claimant[/defendant] may seek to
sue the potential third party defendant in a separate action, if the cost and
inconvenience of separate litigation is not deemed to preclude that approach.” 8
Erastus Cornelius Benedict et al., Benedict on Admiralty § 8.01 (2021).

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charterer in the case, who invoked the bill of lading’s forum selection clause, had

effectively waived its right to do so by having filed its own claims in the limitation

proceeding. 1999 WL 6364 at *2-3. Here, in contrast, ONE was brought into this action

against its own volition and has not filed its own claims. Second, as another court in

this District has noted, Rationis “was decided before the Supreme Court and the

Second Circuit further clarified the deference owed to forum selection clauses in Atlantic

Marine, Martinez, and Phillips.”    Allianz Global Corporate & Specialty v. Chiswick

Bridge, Nos. 13-CV-7559 & 13-CV-7565, 2014 WL 6469027, at *3 (S.D.N.Y. Nov. 17,

2014) (enforcing bill of lading forum selection clause); see Atlantic Marine, 571 U.S. at

66, 134 S. Ct. at 583 (“In all but the most unusual cases … ‘the interest of justice’ is

served by holding parties to their [contractual] bargain”); Martinez, 740 F.3d at 219

(“Atlantic Marine … plainly reaffirms Bremen’s identification of a strong federal public

policy supporting the enforcement of forum selection clauses”); Phillips, 494 F.3d at 386

(“A mandatory forum clause is entitled to the Bremen presumption of enforceability”);

see also Bremen, 407 U.S. at 15 (“in the light of present-day commercial realities and

expanding international trade … the forum clause should control absent a strong

showing that it should be set aside”).

       The same is true for the Second Circuit’s decision in Quarrington Court, quoted

in Rationis and relied on by Cargo Claimants for the proposition that one of the

Limitation Act’s principal purposes is to “bring all claims into concourse and settle every

dispute in one action.” 102 F.2d at 918. As the Fifth Circuit Court of Appeals has

observed,

              The Quarrington Court was decided in an era in which
              forum-selection … clauses were disfavored by the courts

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              because they were thought to ‘oust their jurisdiction.’ In
              those days, nearly any public policy could undo such a
              clause. By 1972, the Supreme Court had rejected the
              ‘ouster of jurisdiction’ notion as parochial. Now, there is a
              heavy presumption in favor of such clauses.

Afram Carriers, Inc. v. Moeykens, 145 F.3d 298, 303 n.9 (5th Cir. 1998) (internal

citations omitted) (citing, inter alia, Bremen, 407 U.S. at 9, 92 S. Ct. at 1912-13). 33

       To be clear, the Court does not conclude that the fact that this case is a large-

scale, complex limitation action by itself would be sufficient to render the forum selection

clause unenforceable. Cargo Claimants have not presented any authority or basis for

why the purpose of resolving disputes of this nature in a single proceeding necessarily

should be elevated above the “strong federal public policy supporting the enforcement

of forum selection clauses.” Martinez, 740 F.3d at 219. But in the context of this case,

in which enforcement of the forum selection clause would violate COGSA, the over-

riding purpose of the Limitation Act additionally also weighs against enforcement. 34




33
  Cargo Claimants also rely on In Re Deleas Shipping Ltd., Nos. C94-1877 & C94-
1901, 1995 WL 848559, at *1 (W.D. Wash. Oct. 25, 1995). That case too is materially
distinguishable. In Deleas, the vessel owner not only commenced a limitation
proceeding but also sought to enforce the forum selection clause in its bills of lading
nine months later, after discovery was in progress and a trial schedule had already been
set. Id. Here, in contrast, ONE is a slot charterer that was brought into the case
involuntarily and filed its motion promptly thereafter and before any discovery has been
taken.
34
  Cargo Claimants additionally argue that the Clause is unenforceable because only
vessel owners and bareboat charterers are entitled to limit their liability under the
Limitation Act, and ONE is neither of those. (CC Opp. at 21.) See Mediterranean
Shipping Co. S.A. Geneva v. POL-Atlantic, 229 F.3d 397, 400-01 (2d Cir. 2000) (citing
46 U.S.C. app. §§ 185, 186). Because there are other grounds for denying ONE’s
motion, the Court does not address that argument.


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B.     Second And Fourth Test Claims: Bill Of Lading And Service Contract
       Between ONE And Shipper (Second Test Claim) / NVOCC (Fourth Test
       Claim)

       The Court’s foregoing discussion as to why the Clause is unenforceable in the

first test claim applies with equal force to the second and fourth test claims as well, but

not for all the reasons Claimants advance.

       Claimants argue that for claims implicating ONE’s service contract, the bill of

lading’s Clause is not mandatory and therefore does not qualify for even the

presumption of enforceability. More specifically, where both a ONE bill of lading and

service contract are involved, the Clause is not mandatory because it “specifically

allows possible alternative fora,” and “ONE in fact did agree to suit in this Court”

pursuant to the terms of the service contract. (Apex Opp. at 8-9. 35) The Court does not

agree. Claimants seize upon a clause that specifically and only applies in the context of

arbitration. That provision is not a general forum selection clause, and no party has

invoked arbitration.   The service contract’s consent-to-jurisdiction provision thus is

inapplicable, and, as set forth in ONE’s bill of lading, Singapore remains the operative,

mandatory forum.

       Again, the bill of lading Clause states in relevant part, “Unless otherwise agreed

by [ONE], any action against [ONE] hereunder must be brought exclusively before the

Singapore High Court.” (Wyatt Decl. Ex. A § 25.1.) The Claimants begin with the

argument that the Clause is not mandatory because by its very wording – “Unless

otherwise agreed by [ONE]” – “it provides for ONE to agree to another jurisdiction.”


35
  “Apex Opp.” refers to the “Memorandum Of Law Of Apex Maritime Co., Inc. In
Opposition To Motion By Ocean Network Express PTE. LTD. To Dismiss On The
Ground Of Forum Non Conveniens” (Dkt. 602).

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(Apex Opp. at 6.) But a subordinate clause such as “unless otherwise agreed” does not

by itself render a forum selection clause permissive. See, e.g., Baosteel America, Inc.

v. M/V Ocean Lord, 257 F. Supp.2d 687, 689 & n.1 (S.D.N.Y. 2003) (bill of lading’s

forum selection clause stating that all disputes “shall be settled in the flag-state of the

ship, or otherwise in the place mutually agreed between the Carrier and the Merchant”

was mandatory because the clause provided the parties with a guaranteed forum and

deprived them of the right to bring an action in another forum without mutual consent).

       As the court explained in Baosteel, “[a]lthough the clause allows the parties, in

the alternative, to agree on another forum, this language only states the obvious fact

that contracting parties may mutually agree to waive a forum selection clause. The

parties have not agreed to another forum, therefore [the ship’s] flag-state retains

jurisdiction.” Id. There is no alternative forum if the parties do not agree. The parties

here did not agree otherwise; accordingly, the Clause’s exclusive choice of forum

remains mandatory. 36 See Macsteel International USA Corp. v. M/V Larch Arrow, 354

F. App’x 537, 540 (2d Cir. 2009) (“The analysis … requires a court to focus on the

‘mandatory force of the words,’ that is, whether the language requires that an action be

venued in a specifically designated forum” (quoting Phillips, 494 F.3d at 386-87)).

       Next, Claimants contend that the Clause is not mandatory because “ONE in fact

did agree to suit in this [Southern District of New York] Court” via the service contract.

(Apex Opp. at 8.) Claimants cite to the Applicable Law / Disputes provision in the




36
  To the extent that, in defending the first test claim, Cargo Claimants share the
mistaken belief that “[u]nless otherwise agreed” means that the Clause is permissive,
the analysis here also applies to that claim.

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service contract. The Court reprises the entire provision as the context of the language

– seized upon by the Claimants out of that context – is critical:

              In the event of a dispute under this Contract, the parties to
              the dispute shall attempt to resolve it amicably, by direct
              good faith negotiations between a senior executive of each
              such party. If there is no resolution within thirty (30) days,
              the dispute shall be resolved by arbitration in New York
              under the Rules of the Society of Maritime Arbitrators, Inc.
              (“SMA”). The arbitration shall be before a single arbitrator
              chosen by the parties to the dispute or, failing such
              agreement, each party shall appoint an arbitrator, and the
              two arbitrators so chosen shall select a third arbitrator as
              Chairperson. There shall be no restriction on the nationality
              of the arbitrators, and they may include practicing maritime
              attorneys. Except by agreement of the parties, there shall
              be no pre-hearing discovery. The costs and expenses of the
              arbitration (including reasonable attorneys’ fees and costs)
              shall be borne by the non-prevailing party. The decision of
              the arbitrator(s) shall be final, binding, not subject to further
              review, and enforceable by any court, tribunal or other forum
              having jurisdiction. The parties consent to the personal
              jurisdiction of, and venue in, any State Court in New York,
              New York, and the United States District Court for the
              Southern District of New York (collectively, a “New York
              Court”). The parties agree any such award may be enforced
              pursuant to the United Nations Convention on the
              Recognition and Enforcement of Foreign Arbitral Awards of
              June 10, 1958. If a party that has prevailed in arbitration
              finds it necessary to enforce the arbitrators’ decision and
              award, such party shall receive from the non-prevailing party
              the costs and expenses of such enforcement, including
              reasonable attorneys’ fees and costs.

(Wyatt Decl. Ex. F § 19(b).)

       According to Claimants, the sentence by which the parties consent to personal

jurisdiction and venue in New York state or federal court “is an explicit agreement by

ONE to submit to the personal jurisdiction of this Court, period.” (Apex Opp. 11.) Not

so. Contrary to what Claimants suggest, the service contract’s personal jurisdiction and

venue clause is not a standalone provision. Rather, its context, as fully quoted above,

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makes clear that it applies only to arbitration between the parties – more particularly, to

enforcement of any arbitration award.      The clause is immediately preceded by the

sentence, “The decision of the arbitrator(s) shall be final, binding, not subject to further

review, and enforceable by any court, tribunal or other forum having jurisdiction”; and

followed by the sentences, “The parties agree any such award may be enforced

pursuant to the United Nations Convention on the Recognition and Enforcement of

Foreign Arbitral Awards of June 10, 1958. If a party that has prevailed in arbitration

finds it necessary to enforce the arbitrators’ decision and award, such party shall

receive from the non-prevailing party the costs and expenses of such enforcement,

including reasonable attorneys’ fees and costs.” (Wyatt Decl. Ex. F § 19(b) (emphasis

added).)

       More generally, the lengthy provision in which the relevant clause is firmly

embedded sets forth procedures solely for arbitration: conditions precedent, applicable

rules, selection of arbitrators, pre-hearing discovery, allocation of costs and expenses,

and, most relevantly, enforcement of an arbitration award.          Thus, the Claimants’

suggestion that ONE “unambiguous[ly] and absolutely clear[ly]” agreed to litigate

matters other than enforcement of arbitration in the Southern District of New York (Apex

Opp. 10) is implausible, particularly given the bill of lading terms’ unequivocal choice of

Singapore and its incorporation by reference in the service contract. 37 (See Wyatt Decl.



37
  ONE cites Bank Julius Baer & Co v. Waxfield Ltd., 424 F.3d 278 (2d Cir. 2005),
abrogated on other grounds, Granite Rock Co. v. International Brotherhood Of
Teamsters, 561 U.S. 287, 130 S. Ct. 2847 (2010), for the proposition that the service
contract’s forum selection clause is “merely complementary to arbitration.” (ONE Mem.
at 21.) That case is informative but not entirely apt. In Bank Julius Baer, the parties
entered into an arbitration agreement followed by pledge agreements one month later.


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Ex. F. § 2.) At bottom, Claimants’ argument fails because it is based on impermissibly

plucking one sentence out of the much longer and comprehensive section on arbitration

and construing that sentence entirely out of context. See Fasano v. Guoqing Li, 482 F.

Supp.3d 158, 168 (S.D.N.Y. 2020) (a “‘contract must be read as a whole in order to

determine its purpose and intent, and ... single clauses cannot be construed by taking

them out of their context and giving them an interpretation apart from the contract of

which they are a part’”) (omission in original) (quoting Eighth Avenue Coach Corp. v.

City Of New York, 286 N.Y. 84, 88, 35 N.E.2d 907, 909 (1941)); Sleepy’s LLC v. Select

Comfort Wholesale Corp., 133 F. Supp.3d 483, 495 (E.D.N.Y. 2015) (“it is hornbook law

that phrases and clauses of a contract may not be interpreted out of context”), aff’d in

part, vacated in part, 909 F.3d 519 (2d Cir. 2018).

       That said, neither party satisfactorily addresses what appears to be a direct

conflict between the forum selection Clause in ONE’s bill of lading terms and the

arbitration provision in ONE’s service contract; the former calls for litigation of any


424 F.3d at 280. The arbitration agreement provided that any action “shall be settled by
arbitration”; under the pledge agreements’ forum selection clause, however, Waxfield
(the resisting party) consented to the jurisdiction of the state and federal courts of New
York, and also agreed that any action “may be heard and determined” by those courts.
Id. at 282 (emphasis in original). Waxfield argued that the pledge agreements’ forum
selection clause, coupled with their merger clause, effectively destroyed the parties’
earlier agreement to arbitrate. Id. Surveying the case law, the Second Circuit
reaffirmed that “if there is a reading of the various agreements that permits the
Arbitration Clause to remain in effect, we must choose it.” Id. at 284. Accordingly, the
court held that the pledge agreements’ forum selection clause merely required Waxfield
to submit to suit in the courts of New York; Bank Julius Baer and Waxfield still had to
arbitrate, but to the extent that the Bank filed suit in a New York court (e.g., to enforce
an arbitral award), Waxfield would not challenge jurisdiction or venue. Id. Here, the
service contract’s consent to personal jurisdiction and venue clause is to the same
effect, but more importantly, the clause is found in the arbitration provision itself. Thus,
far more so than in Bank Julius Baer, the clause unambiguously applies specifically in
the context of enforcing an arbitration award between ONE and the Claimants.


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claims in Singapore, while the latter requires arbitration of any disputes in New York.

Where there is such a conflict, § 2 of ONE’s service contract terms make clear that the

service contract and its arbitration provision should prevail:

              This [Service] Contract incorporates by reference ONE’s
              Rates and Rules FMC Tariffs …, which includes ONE’s bill
              of lading Tariff …. With such incorporation, this is the full
              agreement between the parties and an exclusive statement
              of the terms of the [Service] Contract. In the event of any
              conflict between the terms and conditions of the above tariffs
              and those of this [Service] Contract, the latter shall control.

(Wyatt Decl. Ex. L § 2.)

       Acknowledging the conflict, ONE points to § 11 of the service contract, titled

“BILL OF LADING,” which provides an exception to § 2 for “terms about liability for

damage … delays, mis-delivery, [or] loss.” In the event of any conflict between such

terms in the service contract and bill of lading, the bill of lading prevails. (See Wyatt

Decl. Ex. L § 11 (“To the extent terms about liability for damage to persons or property

(including cargo), delays, mis-delivery, loss or any provision mandated by applicable

law in ONE’s bill of lading conflict with this Contract, the bill of lading shall prevail.”).)

Both the Clause and the arbitration provision – the former requiring “any action” under

the bill of lading to be brought before the Singapore High Court, and the latter requiring

any “dispute under this [Service] Contract” to be resolved by arbitration in New York –

are unqualified in their scope. That is, they encompass any type of claims under the

respective contractual document, not just liability for “damage to persons or property

(including cargo),” “delays,” “mis-delivery,” or “loss.” That does not, however, make the

dispute resolution clauses “about liability,” and ONE does not explain why they would be

such that § 11 would apply.



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       In any event, the Court need not resolve the conflict between dispute resolution

provisions for purposes of the instant motion.        No party has moved to compel

arbitration. To the extent ONE’s bill of lading controls, it is unenforceable under the

second and fourth test claims for the same reasons as the first test claim. Accordingly,

the second and fourth test claims compel the same outcome as the first test claim:

ONE’s motion to dismiss based on the Clause should be denied. 38

C.     Third Test Claim: Bill Of Lading And Service Contract Between ONE And
       NVOCC, But Shipper’s Insurer Is Claimant

       The third test claim differs from the other test claims in certain significant

respects.    The shipper first arranged for carriage through Expeditors, an NVOCC;

Expeditors then arranged for carriage through ONE, a slot charterer and VOCC. As

part of those transactions, ONE issued its bill of lading (and service contract) to

Expeditors, and Expeditors issued its “house bill of lading” to the shipper. (Wyatt Decl.

¶¶ 20-22.)   The shipper’s insurer is now suing ONE.        In response, ONE seeks to

enforce its bill of lading Clause against the shipper even though the shipper was not a

party to the bill of lading that ONE issued to Expeditors. That fact pattern raises the

question of whether the shipper (and its insurer) is bound by the Clause. If not, then the

Clause would not meet the third required element for there to be even a presumption of

enforceability under Phillips. See 494 F.3d at 383 (third element for presumption is




38
  The Court need not and does not address ONE’s contention that Claimants could not
pursue arbitration even if they wanted to as the terms of a bill of lading issued after a
service contract prevail over conflicting service contract terms. (See ONE Mem. at 21-
22 n.15 (citing Calchem Corp. v. Active Sea USA LLC, No. 06-CV-1585, 2007 WL
2127188, at *3 & n.13 (E.D.N.Y. July 25, 2007); TMC Co. v. M/V MOSEL Bridge, No.
01-CV-9860, 2002 WL 1880722, at *2 (S.D.N.Y. Aug. 15, 2002)).


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whether the claims and parties involved in the suit are subject to the clause). The

answer, however, is that the shipper is so bound. 39

       It is well-settled law in this District that a cargo owner can be bound by a forum

selection clause in a bill of lading accepted by an NVOCC or other intermediary if that

party was acting on behalf of the owner or as the owner’s agent, even if the owner was

not a party to the bill of lading. See Laufer Group International v. Tamarack Industries,

LLC, 599 F. Supp.2d 528, 531 (S.D.N.Y. 2009) (collecting cases). That is so because:

“(1) the ‘normal commercial role’ of an NVOCC … is agent of the cargo owner when it

accepts a bill of lading’; (2) a contrary rule ‘would effectively render carriers unable to

contract for selection of a forum’; (3) a contrary rule would render a carrier ‘unable to

protect itself by contract’; and (4) ‘[t]he rule recognizing [an NVOCC’s] limited agency to

bind a cargo owner to a forum selection clause by accepting a carrier's bill of lading ... is

consistent with decades of decisional and statutory law.” Id. at 531 (second omission

and first alteration in original) (quoting A.P. Moller-Maersk A/S v. Ocean Express Miami,

550 F. Supp.2d 454, 465-66 (S.D.N.Y. 2008)).

       Here, Cargo Claimants do not dispute that Expeditors was acting on behalf of the

shipper or as the shipper’s agent in accepting ONE’s bill of lading. The shipper (and by

extension its insurer) is therefore subject to the Clause, and the Clause receives the



39
   With respect to the Phillips’ requirement that the dispute, not merely the parties, be
subject to the forum selection clause, the Court notes that ONE’s bill of lading for the
third test claim (ONEYBKKUF3664400) does not appear in the schedules to Cargo
Claimants’ pleading. The Clause nonetheless applies to Cargo Claimants and the third
test claim given (1) the Clause’s broad, express language (“any action against [ONE]
hereunder,” i.e., under the bill of lading), and (2) the undisputed fact that Cargo
Claimants are suing ONE under ONE bills of lading. (Wyatt Decl. Ex. A § 25.1; see
Compl. ¶¶ 7, 125.)


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presumption of enforceability.       Nonetheless, the Clause is unenforceable for the

reasons already discussed above. ONE’s motion to dismiss under the third test claim

thus should be denied as well.

D.     Public Interest Factors

       Having already determined that enforcement of the Clause would contravene

COGSA and disserve the purposes of the Limitation Act, the Court need not separately

analyze whether there are public interest considerations that further weigh against its

enforcement. 40 See Atlantic Marine, 571 U.S. at 63-64, 134 S. Ct. at 581-82 (public

interest factors may include (1) desire to avoid court congestion, (2) preference for

adjudicating local controversies locally, (3) interest in trying diversity cases in a forum

familiar with the law, (4) unfairness of imposing jury duty on a community unrelated to

the litigation, and (5) avoidance of difficulties in conflict of law and applying foreign law).

E.     Cargo Claimants’ Severance Argument

       Cargo Claimants assert that dismissal of the test claims for forum non

conveniens “would require the Court to sever [them] from the rest of the litigation” and

“to analyze the factors for severance under Rule 21.” (CC Opp. at 9.) Having found the

Clause unenforceable and that the claims against ONE should not be dismissed

pursuant to forum non conveniens, the Court need not and does not address this issue.




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   After Atlantic Marine, some courts have considered public interest factors separately
after conducting the four-step validity analysis under Phillips. See, e.g., Midamines,
2014 WL 1116875 at *3; Fubon Insurance Co., Ltd. v. OHL International, No. 12-CV-
5035, 2014 WL 1383604, at *6 (S.D.N.Y. March 13, 2014). Other courts have
addressed public interest factors in connection with their analysis of whether enforcing
the forum selection clause would be unreasonable or unjust. See, e.g., Martinez, 740
F.3d at 227-30; Allianz, 2014 WL 6469027 at *2-4.

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                                       Conclusion

       For the forgoing reasons, ONE’s bellwether motion to dismiss the four test claims

for forum non conveniens should be DENIED in its entirety.          To the extent not

addressed above, the Court has considered ONE’s arguments and finds them to be

without merit.

                           Procedures For Filing Objections

       Pursuant to 28 U.S.C. § 636(b)(1) and Rules 72, 6(a), and 6(d) of the Federal

Rules of Civil Procedure, the parties shall have fourteen (14) days to file written

objections to this Report and Recommendation. Such objections shall be filed with the

Clerk of Court, with extra copies delivered to the Chambers of the Honorable Gregory

H. Woods, United States Courthouse, 500 Pearl Street, New York, NY 10007, and to

the Chambers of the undersigned, 500 Pearl Street, New York, NY 10007. FAILURE

TO FILE TIMELY OBJECTIONS WILL RESULT IN A WAIVER OF OBJECTIONS

AND WILL PRECLUDE APPELLATE REVIEW.

                                          Respectfully submitted,



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE
Dated: June 30, 2021
       New York, New York

Copies transmitted this date to all counsel of record.




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